                  Case 15-31857-LMI       Doc 38    Filed 11/21/17    Page 1 of 17



                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI D¡VISION
                                  www.fls b. usco u.rts. g ov

ln re                                                       Chapter 7

ESTEBAN FLORES,                                             Case No. 15-31857-LMl

        Debtor
                                                     I

             TRUSTEE DILLWORTH'S MOTION TO APPROVE SETTLEMENT

                 Any interested party who fails to file and serve a written
                 response to this motion within 21 days after the date of
                 service stated in this motion shall, pursuant to Local Rule
                 9013-l(D), be deemed to have consented to the entry of an
                 order in the form attached to this motion. Any scheduled
                 hearing may then be canceled.

        DREW M. DILLWORTH, the duly appointed, qualified and acting chapter 7 trustee in

this case, by and through his undersigned counsel, pursuant to 1 1 U.S.C. S 105, Rule 9019,

Fed.R.Bankr.P., and Local Rule 9013-1 of the Local Rules of the United States Bankruptcy

Court, Southern District of Florida, hereby moves (the "Motion") for the entry of an Order

approving a settlement of a tort claim and for related relief. Trustee Dillworth states the

following in support:

        1.       This bankruptcy case was commenced as a voluntary chapter 7 proceeding on

December 18,2015 (the ".Re!jg[Daþ").

        2.       Trustee Dillworth is the duly appointed, qualified, and acting chapter 7 trustee.

        3.       The Debtor schedules reflect a personal injury claim (the "Çlaim") arising as a

result of an incident that occurred prior to the Relief Date.

        4.       The Claim remains pending against Miami Dade County in the matter styled




                      STEARNS WEAVER MILLER WEISSLER ALHADEFF & SITTERSON' P'4.
        MUSEUM TOWER,.t5O WEST FLAGLER STREET, MlAMl, FLORIDA33130 TELEPHONE (305) 789-3200
                Case 15-31857-LMI       Doc 38       Filed 11/21/17     Page 2 of 17




Flores v. Miami-Dade County, 16-000505-CA-01 (11th Judicial Circuit, Miami, Florida).

Trustee Dillworth was authorized [ECF No. 34] to hire the law firm of Montes & Associates,

P.A. (the "F,irm") as counsel to represent the estate's interests in liquidating the Claim.J/

       5.      Recently, the balance of the Claim was settled, subject of this Court's approval,

prior to incurring costs associated with mediation. A copy of the proposed settlement

statement and release is attached hereto as Exhibit A. Pursuant to the proposed settlement,

the estate will receive $2Q.000 in gross funds. After payment of attorneys fees ($5,000) and

three alleged medical liens (total¡ng $Ç,001), the estate will retain the sum of $8.999 for the

benefit of creditors. This Motion seeks to ratify and approve the proposed settlement.

       6.      Trustee Dillworth made due inquiry with the Firm as to the strengths and

weaknesses of the Claim, the likelihood of success, and the cost and expense of continuing

to pursue the Claim through litigation. Based upon those discussions, it appears that the

proposed settlement is a fair and reasonable basis to resolve the Claim.

       7   .   Rule 9019(a), Fed.R.Bankr.P., providesthatatrustee may compromise orsettle

a claim. Approval of a settlement is within the sound discretion of the bankruptcy court. See,

ln re Neshaminy Office Building Assocs., 62 B.R. 798, 803 (E.D. Pa. 1986). The standard

to be applied bythe court is whetherthe settlement is in the best interests of the estate. See,

Matter of Energy Co-Op, \nc.,886 F.2d 921,927 (7th Cir. 1989). The settlement of

time-consuming and burdensome litigation is encouraged, particularly in bankruptcy cases.

See, Protective Committee for lndependent Stockholders             of TMT Trailer Ferry, Inc.     v.




     v A portion of the Claim was previously settled for the sum of $19.00p by Order
IECF No. 33] dated March 22,2017.




                                               -2-
                    STEARNS WEAVER MILLER WEISSLER ALHADEFF & SITTERSON, P.A.
        MUSEUM TOWER,15O WEST FLAGLER STREET, MlAMl, FLORTDA   33130   TELEPHONE (305) 789-3200
                Case 15-31857-LMI        Doc 38         Filed 11/21/17    Page 3 of 17




Anderson, 390     U.S.414, 88 S.Ct. 1157,20 L.Ed.2d 1 (1968); ln re Penn                            Central

Transportation Co.,596 F.2d 1102 (3d Cir. 1979).

       8.     ln analyzing the merits of a settlement, the Court should consider four factors,

namely: (a) the probability of success in the litigation, (b) any difficulties to be encountered

in collection, (c) the complexity of the litigation and the expenses, inconvenience and delay

necessarily attending it, and (d) the paramount interests of the creditors. See, /n re Justice

Oaks ll, Ltd.,898 F.2d 1544,1549     (1 1th   Cir. 1990) cert. denied 111S. Ct. 387, 498 U.S. 959.

Under this test, Trustee Dillworth submits that the proposed settlement of the Claim is in the

best interests of the estate and its creditors and should be approved. Through the proposed

settlement, the bankruptcyestatewillreceive meaningfulfund of cash to pay creditorswithout

taking on any further risk and delay of recovery.

       8.     A proposed Order granting this Motion is attached hereto as Exhibit "B."

       WHEREFORE, Trustee Dillworth respectfully requests the Court to enter an Order as

follows: (a) granting the Motion; (b) authorizing Trustee Dillworth to consummate the

settlement of the Claim as proposed herein; (c) authorizing Trustee Dillworth to execute all

documents required to consummate the settlement; and (d) for such other relief as the Court

finds appropriate.




                                                  -3-
                     STEARNS WEAVER MILLER WEISSLER ALHADEFF & SITTERSON' P'A'
        MUSEUM TOWER, I5O WEST FLAGLER STREET, MIAMI, FLORIDA   33130    TELEPHONE (30ó) 789-3200
                Case 15-31857-LMI       Doc 38           Filed 11/21/17   Page 4 of 17




       I HEREBY CERTIFY that on November 21,2017, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

document is being served this day electronically by ECF Notification on the Attorney for

Debtor, the Office of the United States Trustee and other parties that have registered for

electronic service in this case. The document was also served this day by U.S. Mail on the

parties identified on the attached service list.

                                            Respectfully Submitted,

                                            I hereby certify that I am admitted to the Bar of the United
                                            States District Court for the Southern District of Florida and
                                            we are in compliance with the additional qualifications to
                                            practice in this court set forth in Local Rule 2090-1(A).



                                            By:
                                                         DREW M. DILLWORTH, ESQ.
                                                         Florida Bar No. 0167835
                                                         STEARNS WEAVER MILLER WEISSLER
                                                           ALHADEFF & SITTERSON, P.A.
                                                         Museum Tower Building, Suite 2200
                                                         150 West Flagler Street
                                                         Miami, Florida 33131
                                                         Telephone: (305) 789-3200
                                                         Fax: (305) 789-3395
                                                         E-Mail : dd illworth@stearnswe,aYer.qom




                                                   -4-
                    STEARNS WEAVER MILLER WEISSLER ALHADEFF & SITTERSON' P.A.
        MUSEUM TOWER, I5O WEST FLAGLER STREET, MIAMI, FLORIDA     33130   TELEPHONE (305} 789'3200
                                           Case 15-31857-LMI            Doc 38            Filed 11/21/17             Page 5 of 17

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                                               Case 15-31857-LMI                   Doc 38              Filed 11/21/17   Page 6 of 17

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    Juan Montes                                                     Robert Sanchez tsq
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                               The prefened mailing addresg (p) above has been sr¡bstituted for the following enlily/entilies as so specified
                               by said entity/entities in a Notice of Àdd¡ess filed pursuant to 11 U,S.C, 3{2(f} and 8ed.R.Bank.P. 2002 (g} (a}



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Case 15-31857-LMI   Doc 38   Filed 11/21/17   Page 7 of 17




      EXHIBIT A
                     Case 15-31857-LMI             Doc 38       Filed 11/21/17     Page 8 of 17




                                                 CLOSING STATEMENT

                                      Esteban Flores vs Miami-Dode County

FILE   NO.:   5031H1

GROSS INJURY FUNDS RECEIVED:                                                                  s   20,ooo.oo



                                               REDUCTIONS FROM GROSS:

ATTORN EYS' FEES l25o/ol                                                                      s      5,000.00
(Payable to Montes & Associotes Law Firm, P.L.)

FUNDS TO BE PAID ON CLIENT,S BEHALF TO:

Hialeah Medical Associates, lnc. (Balance amount 59,601.OO...Agreed reduction)                S      5,000.00

lnterscan, lnc. (Balance amount S576.00...Agreed                reduction)                    S       500.00

Roberto Moya, M.D.,        P.A.                                                               $       501.00




D   ISBU RSEM   E   NT TOIRETAI   N   E   D BY Ctl ENT (Trustee)   :                         s    8ee9.00

I APPROVE DISTRIBUTION IN ACCORDANCE WITH THIS CLOSING STATEMENT




                                                         Drew Dillworth, Trustee              Date
                                                         (Bankruptcy Estate of
                                                         Esteban Flores)




                                                         For   the Firm                       Date
               Case 15-31857-LMI        Doc 38     Filed 11/21/17      Page 9 of 17




                                RELEAEE OF AI,L CIAIMS
    KNOW ALL MEN BY THESE PRESENTS:


    Drew M. Dillworth, as Chapter 7 Trustee of the Bankrutcy Estate of Esteban Flores,

the undersigned ("RELEASOR"), being of lawful age, for the sole consideration of

Twenty thousand and 00/100 dollars ($20,000,00) to the undersigned in hand paid,

receipt whereof is hereby acknowledged, do/does hereby and for my/our/its heirs,

executors, administrators, successors and assigns release, acquit and forever discharges

MIAMI DADE COUNTY, a political subdivision of the State of Florida, its past

present or future agents, servants, successors, heirs, executQrs, administrators and all

other persons, firms, corporations, associations or partnerships I"RELEASEE") of and

from any and all claims, actions, causes or action, demands, rights, damages,         costs,


attorneys fees, loss of service, expenses and compensation whatsoever, which the

undersigned now has/have or which may hereafter accrue on account of or in any way

growing out of any and all known and unknown, foreseen and unforeseen bodily and

personal injuries and property damage and the consequences thereof resulting or to

result from the accident, casualry or event which occurred on or about lanuary 12,

201^2,   at or near NW 186th St near 82nd Avenue, Miami Lakes, Florida and which

is also the subiect matter of the litigation styled ESTEBAN FLORES v. MIAMI-DADE

COIINTY, Case No. 76-505 CA 27 (the "Action").


    It is understood and agreed that this settlement is the compromise of a doubtful

and disputed claim, and that the payment made is not to be construed as an admission

of liability on the part of the party or parties hereby released, and that said RELEASEE

denies liability therefor and intends merely to avoid litigation and buy its peace.


                       OFFICE OF COUNTY ATTORNEY, MIAMI-DADE COUNTY, FLORIDA
                                       TELEPHONE 305.375,5ls1
              Case 15-31857-LMI        Doc 38     Filed 11/21/17      Page 10 of 17
                                                             ESTEBAN FLORES V, MIAMI-DADE COUNTY
                                                                               Case No. 16-505 CA 21



    RELEAS0R hereby declare(s) and represent(s) that the injuries sustained are or

may be permanent and progressive and that recovery therefrom is uncertain and

indefinite and in making this Release it is understood and agreed, that the undersigned

rely(ies) wholly upon RELEASOR'S judgment, belief and knowledge of the nature,

exten! effect and duration of said injuries and liability therefor and is made without

reliance upon any statement or representation of the party or parties hereby released

or their representatives or by any physician or surgeon by them employed.


    RELEASOR    further declare(s) and representfs) that no promise, inducement or

agreement not herein expressed has been made to RELEASOR, and that this Release

contains the entire agreement between the parties hereto, and that the terms of this

Release are contractual and not a mere recital.


    RELEASOR agrees    to set aside sufficient funds from the above settlement funds to

cover any and all Medicare and Medicaid bills, claims, penalties, interest fines and liens

whatsoever arising    out of the occurrence set forth in the Action. RELEASOR                 is


responsible for compliance with all notice and other requirements pursuant to the

Medicare Secondary Payer Statute (MSPS) codified at 42 U.S.C, $1395y(bJ(2) and any

other legislation, rule, statute law or ordinance pertaining to the Medicare or Medicaid

payments or claims arising out of the occurrence set forth in the Action. RELEASOR

agrees to hold harmless from and indemnify RELEASEE for any and all bills, claims,

penalties, interesl fines,liens, damages, double damages, demands, actions or causes of

action whatsoever arising from Medicare or Medicaid's payment of or other processing

of or participation regarding said claim arising out of the Action and/or any notice or


                                           Page 2   of5
                       OFFICE OF COUNTY ATTORNEY, MIAMI-DADE COUNTY, FLORIDA
                                       TELEPHONE 305,375.5151
                 Case 15-31857-LMI        Doc 38     Filed 11/21/17      Page 11 of 17
                                                                ESTEBAN FLORES    V,   MIAMI-DADE COUNTY
                                                                                       Case No. 16-505 CA 21,



other requirements of MSPS and/or 42 C F.R. $ 4LI.24(e), (g), (h), (Ð(1) (2009)                       as


amended arising in connection with the Action and/or any other legislation, rule, law,

statute or ordinance addressing Medicare or Medicaid arising in connection with the

Action, and from all damages, costs and expenses therefrom including but not limited

to, attorneys' fees and costs which RELEASEE may bear and incur by reasons thereof.

RELEASOR further agrees        to fully cooperate and provide RELEASEE with any and all

material required by Medicare (CMS) to properly report the claim.

     RELEASOR understands        that any failure on his/her part to adhere to the conditions

in the preceding paragraph and satisfii any ultimate Medicare lien, could result in
liability to   RELEASEE and its counsel and, therefore, RELEASOR agrees,          in consideration

of this settlement, and the monies to be paid in furtherance thereof, to hold harmless,

defend and indemniff RELEASEE and its counsel should RELEASOR violate any of these

conditions or fail to satisfy any Final Demand Letter (Final Medicare Lien) resulting in

either a suit, claim or judgment by Medicare (CMS) against RELEASEE and its counsel

for the payments/reimbursement or conditional payments together with all interests,

penalties, attorney's fees, costs, fines, and/or double damages claimed as a result of

such non-payment.


     RELEASOR agrees       that RELEASEE and its counsel have insisted that Medicare's

interest be protected and the foregoing paragraphs represent material conditions of

this settlement and RELEASOR thus accepts and agrees to these conditions.

     RELEASOR accepts      responsibility for and agrees to pay out of the settlement funds

any and all liens, claims for reimbursement, bills and assigned or subrogated claims or


                                              Page 3 of 5
                          OFFICE OF COUNTY ATTORNEY, MIAMI-DADE COUNTY, FLORIDA
                                          TELEPHONE 305.375.5151
              Case 15-31857-LMI         Doc 38     Filed 11/21/17      Page 12 of 17
                                                              ESTEBAN FLORES    V.   MIAMI-DADE COUNTY
                                                                                     Case No. 16-505 CA 21



interests, regardless of whether disclosed to RELEASOR including, but not limited to, all

liens, claims for reimbursement, assigned or subrogated claims or interests of collateral

source payers as defined by Florida law, federal and state tax liens, Medicare or

Medicaid liens, Social Security liens, hospital liens, workers compensation liens, any

claims of insurers or other persons or entities that provide medical, rehabilitative,

hospital, psychological or other healthcare benefits, federal or statutory common law

liens, attorney's fees and costs, and other assigned or subrogated claims or interest,

which may be applicable to injuries or claims arising out of or related to any claims

asserted by them or which could have been asserted by them or on their behalf arising

out of the occurrence which is the subject of the Action.

      RELEASOR   further agrees to indemniff and hold harmless             RELEASEE         from all

manner of action and actions, causes and causes of action, suits, debts, dues, sums of

money, accounts, reckonings, bonds, bills, costs, expenses, covenants, contracts,

controversies, agreements, promises, damages, judgments, executions, claims and

demands whatsoever in law or in equity, which have or may be asserted by any third

party arising out of any hospital bills, medical bills, rehabilitative bills, psychiatric bills,

and all other bills or expenses of whatever kind whatsoever incurred by RELEASOR

arising out of the occurrence set forth in the Action or out of any lien arising by

operation of law or otherwise out of such bills or expenses, including but not limited to

all attorney's fees and costs.


THE UNDERSIGNED HAS READ THE FOREGOING RELEASE AND FULLY UNDERSTANDS

IT,



                                            Page 4 of 5
                        OFFICE OF COUNTY ATTORNEY, MIAMI-DADE COUNTY, FLORIDA
                                        TELEPHONE 305.375.5151
             Case 15-31857-LMI         Doc 38        Filed 11/21/17   Page 13 of 17
                                                             ESTEBAN FLORES    V,   MIAMI-DADE COUNTY
                                                                                    Case No. 16-505 CA 2L



Signed, sealed, and delivered   this        day of                2077.


CAUTION: READ BEFORE SIGNING BETOW


Drew M. Dillworth, as Chapter 7 Trustee
ofthe Bankrutcy Estate ofEsteban Flores



Witness (Print name)                                   Witness (Sign)



STATE OF FLORIDA:
                                       SS


COUNTY OF MIAMI-DADE

0n the          day of                               20L7, before me personally appeared



-" "-**-,",-,", ,:::':ï;:::""J,ä'i"î:::i;;.
voluntarily executed the same.

My Commission Expires:


Notary Public, State of Florida at Large




                                             Page 5 of 5
                       OFFICE OF COUNTY ATTORNEY, MIAMI-DADE COUNTY, FLORIDA
                                       TELEPHONE 305.375.5151
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       EXHIBIT B
                Case 15-31857-LMI              Doc 38      Filed 11/21/17       Page 15 of 17




                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                            www.flsb.uscourts. gov

In re:                                                        Chapter 7

ESTEBAN FLORES,                                               Case   No. 15-31857-LMI

         Debtor.


                ORDER GRANTING MOTION TO APPROVE SETTLEiqENT

         THIS MATTER came before the Court, without hearing, upon the Trustee Dillworth's

Motion to Approve Settlement          (o'!þ!!g")l     IECF No.    _].        By submitting the form of this

Order, Trustee Dillworth represents that (i) the Motion was served on all parties required by

Local Rule 9013-1(D);       (ii)   the 2l-day response time provided by that rule has expired; (iii) no

one has filed, or served on Trustee Dillworth or his counsel, a response to the Motion; and (iv)

the form of the Order was attached as an exhibit to the Motion.



I All capitalized terms shall have the   same meaning as ascribed in the Motion, unless otherwise defÌned in this
Order
                Case 15-31857-LMI         Doc 38       Filed 11/21/17   Page 16 of 17




       The Court has considered the Motion, the terms of the proposed settlement, and the

applicable provisions of the Bankruptcy Code and case law governing settlements. No party has

filed any objection to the Motion. Based on the foregoing, the Court finds that (a) Trustee

Dillworth has exercised prudent business judgment in reaching the proposed settlement; (b) the

proposed settlement is reasonable within the parameters established by the Eleventh Circuit

Court of Appeals   Inre Justice   Oaks   II, Ltd.,898 F.2d 1544,1549 (llth Cir. 1990) cert. denied

111 S. Ct.387,498 U.S.959; andas         setforthin Inre Heldor Indus., Inc,,l31 8.R.578 (Bkrtcy.

D. N.J. 1991), and In re Grant Broadcasting of Philadelphia, Inc.,7I B.R. 390 (Bkrtcy E.D. Pa.

1987); (c) the proposed settlement is in the best interests of the creditors of this estate; and (d)

Trustee Dillworth has provided good and adequate notice           of the Motion and terms of     the

proposed settlement to all interested parties and due process was afforded all parties in interest.

Accordingly, it is -

       ORDERED as follows:

         1.     The Motion is GRANTED.

        2.      The terms and conditions of the proposed settlement as set forth in the Motion are

APPROVED in their entirety and incorporated in this Order.

        3.      Upon receipt   of the $20.000 in        settlement payments, Trustee Dillworth is

 authorized and directed to pay the following amounts to the following parties:

           a.   The sum of $5.000 as and for attorney's fees to the Firm; and

           b.   The sum of $6,001 to the Firm, in trust, for the medical lien claimants identified

                in the closing statement attached as Exhibit A to the Motion.




                                                   2
                 Case 15-31857-LMI      Doc 38       Filed 11/21/17   Page 17 of 17




            4.   The Court retains jurisdiction to enforce the terms of the settlement and this

Order

                                              ###
Sub{nittqd by and copy f,urnished to:

Drew M. Dillworth, Esq.
ddillworthlD steamsweaver. com
SrBeRNsWBRvsRMIllen
'W¡rssr,BR
         Ar,ulnBpp & SrrrnnsoN, P.A.
Museum Tower Building, Suite 2200
150 West Flagler Street
Miami, Florida 33130

(Attorney Dillworth is directed to serve a conformed copy of this Order,
immediately upon receipt of same from the Court, upon all interested parties.)




#5589313   vl
                                                 J
